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      In The United States Court of Federal Claims
                                          No. 11-98C

                                     (Filed: April 8, 2011)
                                          __________
 HALLMARK-PHOENIX 3, LLC,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.


                                          __________

                                           ORDER
                                          __________


       A telephonic oral argument on defendant’s motion to dismiss will be held in this case on
Thursday, April 28, 2011, at 2:00 p.m. (EDT). Chambers will contact the parties shortly before
the scheduled oral argument time.

       IT IS SO ORDERED.


                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
